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 6    Class Counsel
 7

 8                                UNITED STATES DISTRICT COURT
 9                            NORTHERN DISTRICT OF CALIFORNIA
10                                        SAN JOSE DIVISION
11

12    DAVID RASMUSSEN, an individual, on behalf             Case No. 5:19-cv-04596-BLF
      of himself and all others similarly situated,
13
                                                            PLAINTIFF’S NOTICE OF NON-
                         Plaintiff,
14                                                          OPPOSITION TO PLAINTIFF’S
                                                            MOTION FOR ATTORNEYS’ FEES,
             v.
15                                                          REIMBURSEMENT OF EXPENSES,
                                                            AND PLAINTIFF SERVICE AWARD
      TESLA, INC. d/b/a TESLA MOTORS, INC., a
16    Delaware corporation,                                 Date:            June 16, 2022
17                                                          Time:            9:00 a.m.
                         Defendant.                         Judge:           Hon. Beth Labson Freeman
18                                                          Courtroom:       3

19
            On March 31, 2022, Plaintiff David Rasmussen (“Plaintiff”) filed a Motion for Attorneys’
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     Fees, Reimbursement of Expenses, and Plaintiff Service Award (the “Fee Motion”). See Dkt 58.
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     Hearing on the Fee Motion is scheduled for Thursday, June 16, 2022 at 9:00 a.m. See Dkt. 54
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     (Prelim. Approval Order) ¶ 20(d)–(e).
23
            Pursuant to Civil Local Rule 7-3(a), any brief in opposition to the Fee Motion was due on
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     or before Thursday, April 14, 2022. Pursuant to the Court’s Preliminary Approval Order, any
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     objection to the requested attorneys’ fees, expenses, or service award was due May 5, 2022. Dkt.
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     54 (Prelim. Approval Order) ¶¶ 17, 22. Plaintiff hereby notifies the Court that no party, Class
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     Member, or non-party has filed a brief, objection, or other document objecting to or opposing the
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                                                                         PLAINTIFF’S NOT. OF NON-OPP. TO MOT. FOR
                                                      1                      FEES, EXPENSES, AND SERVICE AWARD
                                                                                        CASE NO. 5:19-CV-04596-BLF
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 1   Fee Motion. Plaintiff also is unaware of any person or entity that has stated its intention to appear
 2   before the Court at the scheduled Final Approval Hearing. See Dkt. 54 (Prelim. Approval Order)
 3   ¶ 18 (no appearance at hearing permitted for third parties or Class Members absent objection and
 4   statement of intent to appear).
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      Dated: May 26, 2022                    Respectfully submitted,
 7
                                             LIEFF CABRASER HEIMANN & BERNSTEIN, LLP
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 9                                           By:
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                                                                         PLAINTIFF’S NOT. OF NON-OPP. TO MOT. FOR
                                                       2                     FEES, EXPENSES, AND SERVICE AWARD
                                                                                        CASE NO. 5:19-CV-04596-BLF
